8:06-cr-00061-LSC-TDT       Doc # 190     Filed: 02/15/07   Page 1 of 1 - Page ID # 653




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                    Plaintiff,                  )            8:06CR61
                                                )
      vs.                                       )             ORDER
                                                )
ARMANDO RODRIGUEZ,                              )
                                                )
                    Defendant.                  )



      This matter is before the court on the motion of defendant Armando Rodriguez
(Rodriguez) for return of a cash bond (Filing No. 189). Rodriguez posted, inter alia, a
$5,000.00 cash appearance bond with the court to insure his appearance for further
proceedings upon his release from pretrial custody (Filing Nos. 40 and 41). The Indictment
against Rodriguez has been dismissed (Filing No. 117). Accordingly, the motion for return
of the cash bond (Filing No. 189) is granted. Rodriguez’s $5,000.00 appearance bond
(Filing No. 41) is hereby exonerated. The Clerk shall refund such bond by mailing a check
for such amount to the surety who posted such bond, Sidronia Rodriguez, 306 Texas Trail,
Dodge City, KS 67801.


      IT IS SO ORDERED.


      DATED this 15th day of February, 2007.
                                                BY THE COURT:


                                                s/ Thomas D. Thalken
                                                United States Magistrate Judge
